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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA §
                         §
V.                       §                          No. 4:20-cr-205
                         §
                         §
MICHAEL MARASCO          §

    MOTION TO SEAL EXHIBIT TO DEFENDANT’S SENTENCING
                     MEMORANDUM

      Defendant Michael Marasco respectfully moves this Court to seal Exhibit D

of his sentencing memorandum. See Fed. R. Crim. P. 49.1(d).

                                       Respectfully submitted,
                                       JONES WALKER LLP

                                       /s/Dan L. Cogdell
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                         CERTIFICATE OF SERVICE

      I certify that on September 13, 2022, I filed this motion via the Court’s
electronic filing system.


                                          /s/ Dan Cogdell
                                          Dan L. Cogdell
